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                                                                                         r'   t
       r
            __     1      DNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION                                  '        22 P?j2: 27

UNITED STATES OF AMERICA                        §      Cause No
                                                §

                                                §
v.                                              §      SEALED INDICTMENT
                                                §
                                                §      [Vio: COUNT ONE: 18 U.S.C. § 1349
DONALD RAY LOCKARD                              §      Conspiracy to Commit Wire Fraud;
                                                §      COUNTS TWO - FOUR: 18 U.S.C. § 18
                                                §      U.S.C. § 1343 Wire Fraud;


THE GRAND JURY CHARGES:                                      DI      2 0 CR 1 28 6
                                        BACKGROUND

At All Times Relevant to This Indictment:

1.  San Felipe Del Rio Consolidated Independent School District (SFDRCISD) was headquartered
in Del Rio, Texas, which is in the Western District of Texas. It's component schools served the
city of Del Rio, Texas and the unicorporated portions of Val Verde County, Texas, which is in the
Western District of Texas.

2. SFDRCISD had accounts with Texas Community Bank. Texas Community Bank and its
branches were financial institutions located in the Western District of Texas and elsewhere.

3. BOK Financial (BOK) and its branches were financial institutions located in the the State      of
Texas and elsewhere.

4. J.P. Morgan Chase Bank (Chase Bank) and its branches were financial institutions located in
the the State of Texas, the State of Georgia and elsewhere.

5. DONALD RAY LOCKARD was a resident                of Douglasville, Georgia and employed as a
foreman for Mayberry Electric, Inc., located in Atlanta, Georgia.

6. DONALD RAY LOCKARD and his wife filed for Chapter 7 bankruptcy on May 10, 2016.

7. DONALD RAY LOCKARD doing business as DL Investments, opened a Chase Bank account
number ending 0717, on August 16, 2019 at the Cosby Station Chase Bank branch number 747137,
located in Douglasville, Georgia. DL Investments listed its business address as 1402 W
Stoneybrook Dr, Douglasville, GA 30134.
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8. DONALD RAY LOCKARD owned the real property located at 1402 W Stoneybrook Dr,
Douglasville, GA.

9. SFDRCISD made bond payments to BOK Financial on a bi-annual basis, specifically February
and August of each year.

                                           COUNT ONE
                                         [18 U.S.C. § 1349]

 1. The Grand Jury adopts, realleges, and incorporates herein the allegations in paragraphs   1   -9   of
the Background of this Indictment as if set out fully herein.

                                   WIRE FRAUD CONSPIRACY

2. Beginning on a date unknown, but from at least on or about August 16, 2019, and continuing
until at least on or about February 25, 2020, within the Western District of Texas and elsewhere,
defendant DONALD RAY LOCKARD together with others, did knowingly and intentionally
conspire to devise a scheme and artifice to defraud San Felipe Del Rio Consolidated Independent
School District (SFDRCISD) and obtain money and property from SFDRCISD by means of
materially false and fraudulent pretenses, representations and promises, and for the purpose of
executing such scheme and artifice, to transmit and cause to be transmitted, by means of wire
communication in interstate and foreign commerce, writings, signs, signals, pictures and sounds,
contrary to Title 18, United States Code, Section 1343, all in violation of Title 18, United States
Code, Section 1349.

                                     METI-JOD AND MEANS

3. It was part   of the conspiracy that the conspirators would send fake or false e-mails to the
Comptroller of SFDRCISD posing as a representatives from BOK Financial (BOK). These emails
concerned the bi-annual bond payments SFDRCISD made to BOK.

4. It was further part of the conspiracy that these fake emails directed the Comptroller of
SFDRCISD to make the pending bond payments to an account different from the one to which
payment was normally tendered.

5. It was further part   of the conspiracy that the defendant, who owned and controlled the bank
account to which the fake or false emails directed payment, possessed and transferred those funds
received from SFDRCISD to other accounts owned and controlled by the defendant or other
conspirators, who withdrew portions of those funds as cash.

                                      COUNTS TWO - FOUR
                                     [18 U.S.C. §
                                               1343 and 2]

1. The Grand Jury adopts, realleges, and incorporates herein the allegations in paragraphs 1 9 of
the Background and paragraphs 1     5 of Count One of this Indictment as if set out fully herein.
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                                 THE SCHEME TO DEFRAUD

2. Beginning on a date unknown, but from at least on or about August 16, 2019, and continuing
until at least on or about February 25, 2020, within the Western District of Texas and elsewhere,
defendant DONALD RAY LOCKARD, together with others, executed a material scheme and
artifice to defraud, and for obtaining money by means of material false and fraudulent pretenses
and representations, in that they sent fraudulent emails to San Felipe Del Rio Consolidated
Independent School District (SFDRCISD) pretending to be representatives of BOK Financial
(BOK) for the purposes of inducing SFDRCISD to make its bi-annual bond payments to a
fraudulent bank account, and in doing so caused wire communications to be transmitted in
interstate commerce.

INTERSTATE WIRES

3. On or about the dates in the table below, at the locations listed below, in the Western District
of Texas, the defendant, DONALD RAY LOCKARD, and others, for the purpose of executing the
aforementioned material scheme and artifice to defraud, and for obtaining money by means of
material false and fraudulent pretenses and representations, did knowingly cause to be transmitted
in interstate commerce wire communications between financial institutions in Texas and
institutions in other states, which represented the transfer of moneys belonging to SFDRCISD in
the amounts listed in the table below, in violation of 18 U.S.C. § 1343, 2.

 Count     Date       Transaction                                                           Amount
 2         02/12/2020 First wire transfer from SFDRCISD account at Texas                     $90,500
                      Community Bank to DL Investments account # ending
                      0717 at Chase Bank
 3         02/12/2020 Second wire transfer from SFDRCISD account at Texas                  $159,000
                      Community Bank to DL Investments account # ending
                      0717 at Chase Bank
 4         02/12/2020 Third wire transfer from SFDRCISD account at Texas              $1,764,262.50
                      Community Bank to DL Investments account # ending
                      0717 at Chase Bank


     NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                                  [See FED. R. CRIM. P.   32.21

                                                I.

                      Wire Fraud Violation(s) and Forfeiture Statute(s)
     [Title 18 U.S.C. § 1343 & 1349, subject to forfeiture pursuant to Title 18 U.S.C. §
        981(a)(1)(C), applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c).1

       As a result of the criminal violation(s) set forth in Counts One through Four, the United

States of America gives notice to the Defendant of its intent to seek the forfeiture of property,
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including the property listed below, upon conviction and as part of sentence pursuant to         FED. R.


CRIM. P.   32.2 and Title 18 U.S.C.   §   981(a)(1)(C) (applicable to criminal forfeiture by Title 28

u.s.c. §   246 1(c)), which states:

       Title 18 U.S.C. 981. Civil forfeiture
           (a)(1) The following property is subject to forfeiture to the United States:

            (C) Any property, real or personal, which constitutes or is derived from
            proceeds traceable to. . . any offense constituting "specfled unlawful activity"
            (as defined in section 1 956(c)(7) of this title.




       § 1956.    Laundering of monetary instruments

            (c) As used in this   section
            (7) the term "specfIed unlawful activity" means
            (A) any act or activity constituting an offense listed in section 1961 (1) of this
                 title....


       § 1961.   Definitions
            As used in this chapter
            (1) "racketeering activity" means. . . (B) any act which is indictable under any
                of the following provisions of title 18, United States Code:. . . section 1343
                (relating to wire fraud).

                                                 II.
                                              Properties

This Notice of Demand for Forfeiture includes but is not limited to the following properties:

   1. $2,000.00, More or Less, in United States Currency seized from JPMorgan Chase
       Bank Account 525980717 in the name of D L Investments;

   2. $40,000.00, More or Less, in United States Currency seized from JPMorgan Chase
      Bank Account 271518711 in the name of Donald Ray Lockard;

   3. $1,531,924.54, Moreor Less, in United States Currency seized from JPMorgan
       Chase Bank Account 405685541 in the name of D L Investments; and
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    4. $10,330.62, More or Less, in United States Currency seized from         JPMorgan Chase
        Bank Account 835358107 in the name of Donald Ray Lockard.

                                              III.
                                         Money Judgment

   Money Judgment: A sum of money equal to the proceeds from the fraud violations and
   property involved in the money laundering violations that was not recovered by the
   government and for which the Defendant is liable.

                                                 Iv.
                                        Substitute Property

       If any proceeds from the fraud violations and any property involved in the money

laundering violations, as a result of any act or omission of the   Defendant
   (A) cannot be located upon the exercise of due diligence;
   (B) has been transferred or sold to, or deposited with, a third party;
   (C) has been placed beyond the jurisdiction of the court;
   (D) has been substantially diminished in value; or
   (E) has been commingled with other property which cannotbe divided without difficulty;

it is the intent of the United States to seek the forfeiture of any other property of the Defendant, up

to the value of the unrecovered proceeds and property, pursuant to Title 21 U.S.C.       § 853(p)   and

FED. R. CRIM. P. 32.2(e).
                                                       A TRUE BILL,
                                                             ORIGINAL SIGNATU
                                                            REDACTED PURSUANT TO
                                                          E-GOVERJ..JMENT ACT OF 2002
                                                       FOREPERSON




JOHN F. BASH
United States Attorney




           A B. BANISTER
           it United States Attorney
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SEALED:
UNSEALED: XX
                           PERSONAL DATA SHEET
                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                             DEL RIO DIVISION

COUNTY: VAL VERDE                           USAO #: 2020R02519
DATE: JULY 22. 2020                         MAG. CT. #: MATTER
AUSA: JOSHUA B. BANISTER
DEFENDANT: DONALD RAY LOCKARD
CITIZENSHIP: UNITED STATES
INTERPRETER NEEDED: NO                      LANGUAGE: ENGLISH
DEFENSE ATTORNEY: NONE
ADDRESS OF ATTORNEY: NOT APPLICABLE
DEFENDANT IS: NOT DETAINED                  DATE OF ARREST:
BENCH WARRANT NEEDED: YES
PROBATION OFFICER: N/A
NAME AND ADDRESS OF SURETY: N/A
YOUTH CORRECTIONS ACT APPLICABLE: NO
PROSECUTION BY: INDICTMENT
OFFENSE: (Code & Description): COUNT ONE: 18 U.S.C.   §   1349 Conspiracy to Commit Wire
Fraud: COUNTS TWO - FOUR: 18 U.S.C.   18 U.S.C.   1343 Wire Fraud.
OFFENSE IS: FELONY
MAXIMUM SENTENCE: COUNTS ONE THROUGH FOUR: 0-20 YEARS IMPRISONMENT:
UP TO $250,000 FINE: UP TO 3 YEARS OF SUPERVISED RELEASE: $100 MANDATORY
SPECIAL ASSESSMENT.
PENALTY IS MANDATORY: YES & NO
REMARKS: See above
W/DT-CR-3
